
92 N.Y.2d 1024 (1998)
Moses &amp; Singer, L. L. P., Respondent,
v.
S&amp;S Machinery Corp. et al., Appellants.
Court of Appeals of the State of New York.
Submitted November 2, 1998
Decided December 22, 1998.
Motion for leave to appeal by appellant Simon Srybnik dismissed upon the ground that the order sought to be appealed from does not finally determine the action as to said appellant within the meaning of the Constitution; motion by appellant S&amp;S Machinery Corp., insofar as it seeks leave to appeal from the portion of the Appellate Division order that affirmed that part of the Supreme Court order that disqualified appellants' attorney, dismissed upon the ground that such portion of the order does not finally determine the action within the meaning of the Constitution; motion by appellant S&amp;S Machinery Corp. for leave to appeal otherwise denied.
